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                                                             Attorney for Plaintiffs

                                                                                       IN THE UNITED STATES DISTRICT COURT
                                                                                            FOR THE DISTRICT OF ALASKA

                                                             LOUIS IMBRIANI, ROBERT RUBEY,
                                                             MICHAEL HANIFEN, HOLLY DERIVERA,
                                                             BRIAN JOHNSON, and HOCKEY OFFICIALS
                                                             OF ALASKA,

                                                                                    Plaintiffs,

                                                                    v.

                                                             AUSTIN QUINN-DAVIDSON, in her capacity
                                                             as Acting Mayor for the Municipality of
                                                             Anchorage,
HOLMES WEDDLE & BARCOTT, PC




                                                                            Defendant.                          Case No. 3:21-cv-_________
                         701 WEST EIGHTH AVENUE, SUITE 700




                                                                                       COMPLAINT AND DEMAND FOR JURY TRIAL
                           ANCHORAGE, AK 99501-3408
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                                                                    Plaintiffs Louis Imbriani, Robert Rubey, Michael Hanifen, Holly DeRivera, Brian

                                                             Johnson and Hockey Officials of Alaska (hereinafter “Plaintiffs”), by and through their counsel

                                                             of record Holmes Weddle & Barcott, P.C. for their complaint again Defendant Austin Quinn-

                                                             Davidson, in her official capacity as Acting Mayor for the Municipality Anchorage, state as

                                                             follows:

                                                                                                  I.    INTRODUCTION

                                                                    1.      On March 12, 2020, then Mayor of the Municipality of Anchorage, Ethan

                                                             Berkowitz, executed a Proclamation of Emergency (COVID-19). For a period of over one year,

                                                             the residents of Anchorage have lived under a “state of civil emergency.”




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                                                                       2.      Mayor Berkowitz and current acting Mayor Quinn-Davidson have issued a

                                                             series of confusing, contradictory and ultimately arbitrary and capricious Executive Orders 1

                                                             predicated on a continuing emergency.

                                                                       3.      The continuing emergency orders have stripped the citizens of Anchorage of

                                                             their inherent fundamental rights. Anchorage citizens’ daily activities have been dictatorially

                                                             micromanaged and restricted by these overzealous executive orders infringing on the most basic

                                                             freedoms. These rights are being denied due to unfounded fear and intentional manipulation.

                                                                       4.      This usurpation of power has been perpetuated under the guise of SARS-CoV2

                                                             virus, and the COIVD-19 that it has the ability to cause in infected individuals. When COVID-

                                                             19 first appeared in Alaska, and namely Anchorage, it was novel, there was little reliable data,

                                                             and our collective experience was limited. A year later, however, we are well past the nascent
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                                                             stage. Conditions on the ground have changed, and Anchorage citizens as a populous know far
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                                                             more.
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                                                                       5.      The evidence that COVID-19 is not as dangerous as originally anticipated and

                                                             predicted has continued to steadily mount and is now overwhelming. The Alaska Department

                                                             of Health and Social Services (“Alaska HSS”) reports that COVID-19 has killed 329 Alaska

                                                             residents, representing 0.04% of the State’s population. In Anchorage, Alaska HSS reports that

                                                             COVID-19 has killed 173 Anchorage residents, representing 0.06% of the Municipality’s

                                                             population.

                                                                       6.      All life is precious, but the infections and death figures and rates do not even

                                                             come close to approaching the dire forecasts and models presented to the Anchorage public in




                                                             1
                                                               Municipality of Anchorage Emergency Orders can be viewed here: https://covid-response-moa-
                                                             muniorg.hub.arcgis.com/pages/emergency-orders (last visited April 21, 2021).

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                                                             March 2020. COVID-19 lags far behind cancer, heart disease and accidents as a cause of death

                                                             in Alaska, and these are conditions for which no emergency has or ever will be declared.

                                                                    7.      There are now multiple vaccines in circulation, and Alaska will have enough

                                                             COVID-19 vaccine for every eligible resident by the end of May. The percentage of Alaskans

                                                             who are fully vaccinated is 41.2 percent. The percentage of Alaskans over the age of 65 who

                                                             are fully vaccinated is 70.9 percent. And in Anchorage, the number is even higher, as 74.5

                                                             percent of Anchorage residents over the age of 65 are fully vaccinated.

                                                                    8.      The plaintiffs in this case have all been injured in various capacities by the

                                                             unconstitutional restrictions placed by the defendant. Without court action, the plaintiffs will

                                                             be left without redress.

                                                                    9.      Plaintiffs seek, among other remedies, a declaratory judgment stating that
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                                                             Emergency Proclamations are null and void, because the premise upon which they are based
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                                                             clearly show a lack of exigent circumstances to continue to justify an emergency.
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                                                                    10.     Plaintiffs respectfully request that this court, as a coequal branch of government,

                                                             declare unconstitutional the actions taken by the executive.

                                                                                                     II.        PARTIES

                                                                    11.     Plaintiffs are residents of the Municipality of Anchorage, and have suffered

                                                             injuries as a direct and proximate result of the imposition of the Continuing Emergency

                                                             Proclamation and other Emergency Orders, which have infringed their civil liberties guaranteed

                                                             under the U.S. Constitution and the Alaska Constitution.

                                                                    12.     Plaintiff Louis Imbriani is an individual whose personal livelihood has been

                                                             impacted as a result of the individual mandates. As a result of the Emergency Proclamation, he

                                                             has lost work, been required to travel further for work, been forced to suffer increased costs due


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                                                             to changing mandates, and has overall been unable to properly execute his duties as an

                                                             independent contractor.

                                                                    13.      Plaintiff Robert Rubey is an individual who has been impacted both socially and

                                                             economically as a results of the Emergency Proclamation.

                                                                    14.      Plaintiff Michael Hanifen is a Doctor of Chiropractic who is engaged in business

                                                             within the Municipality of Anchorage.

                                                                    15.      Plaintiff Holly DeRivera is an individual who suffers from serious medical

                                                             conditions that prevent her from safely wearing a face mask. As a result of her medical inability

                                                             to wear a mask, and due to the Emergency Proclamation regarding mask wearing, she has

                                                             suffered public ridicule among other harms.

                                                                    16.      Plaintiff Brian Johnson is an individual who has had his ability to enjoy the
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                                                             rewards of his industry dashed by the Emergency Proclamation. The actions of the defendant
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                                                             have placed undue burden and stress upon him. Plaintiff Johnson is the father of two children
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                                                             who have likewise been impacted due to the restrictions set forth in the Emergency

                                                             Proclamation.

                                                                    17.      Plaintiff Hockey Officials of Alaska is a sole proprietorship with its principal

                                                             place of business located in Chugiak, Alaska. As a result of the Emergency Proclamation,

                                                             Hockey Officials of Alaska has suffered damages due to being unable to operate, unable to

                                                             operate in an economically reasonable manner, and due to severe restrictions in place.

                                                                    18.      Defendant Acting Mayor Austin Quinn-Davidson is, and was at times relevant,

                                                             the Acting Mayor of the Municipality of Anchorage.




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                                                                                            III.     JURISDICTION AND VENUE

                                                                       19.     This court has original jurisdiction pursuant to 28 USC § 1331 as this action

                                                             rises under the Constitution of the United States, as this matter involves multiple claims arising

                                                             under the 1st, 4th, 5th, 6th, 9th and 14th Amendments and related precedent.

                                                                       20.     This court also has jurisdiction pursuant to 42 USC § 1983, as this matter

                                                             involves the deprivation of rights, protections, privileges and immunities secured by the U.S.

                                                             Constitution.

                                                                       21.     This court has supplemental jurisdiction over the related Alaska law claims

                                                             pursuant to 28 USC § 1367.

                                                                       22.     Venue is proper pursuant to 28 USC § 1391 as the defendant is a resident of

                                                             Alaska, and the events that gave rise to the claim occurred in Alaska.
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                                                                                                     IV.    JURY DEMAND
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                                                                       23.     Pursuant to Fed. R. Civ. P. 38 and Plaintiffs hereby demand a trial by jury in this

                                                             action of all issues so triable.

                                                                                                V.     STATEMENT OF FACTS

                                                                       24.     On January 21, 2020, the Centers for Disease Control and Prevention (“CDC”)

                                                             confirmed the first case of COVID-19 in the United States. 2




                                                             2
                                                               https://www.cdc.gov/media/releases/2020/p0121-novel-coronavirus-travel-case.html (last visited April 22,
                                                             2021).




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                                                                        25.      On February 11, 2020, the World Health Organization (“WHO”) reported on its

                                                             website that, “[m]ost people infected with the COVID-19 virus will experience mild to

                                                             moderate respiratory illness and recover without requiring special treatment. Older people, and

                                                             those with underlying medical problems like cardiovascular disease, diabetes, chronic

                                                             respiratory disease, and cancer are more likely to develop serious illness.” 3

                                                                        26.      On March 9, 2020, the CDC issued an alert that individuals over the age of 60

                                                             with certain preexisting conditions and co-morbidities are likely at higher risk of fatality if

                                                             COVID-19 is contracted. 4

                                                                        27.      On March 11, 2020, Governor Dunleavy of the State of Alaska issued a Public

                                                             Health Disaster Emergency Declaration for COVID-19. 5                         Therein, Governor Dunleavy

                                                             cautioned that the Commissioner of Alaska HSS certified that it was “highly probable that an
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                                                             outbreak of COVID-19” would occur in the State of Alaska in the near future.
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                                                                        28.      On March 12, 2020, then Mayor Berkowitz issued a Proclamation of Emergency
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                                                             (COVID-19) for the Municipality of Anchorage. 6 This Proclamation explicitly was subsequent

                                                             to the State of Alaska declaration of emergency. Therein, Mayor Berkowitz stated that

                                                             “COVID-19 poses a grave and imminent threat to the health, safety and welfare of the residents

                                                             of the Municipality.”

                                                                        29.      The Proclamation was issued pursuant to Anchorage Muni. Code § 3.80.060H.




                                                             3
                                                                 https://www.who.int/health-topics/coronavirus#tab=tab_1 (last visited April 22, 2021).
                                                             4
                                                               https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-conditions.html (last
                                                             visited April 22, 2021).
                                                             5
                                                                 https://gov.alaska.gov/wp-content/uploads/sites/2/COVID-19-Disaster-Packet.pdf (last visited April 22, 2021).
                                                             6
                                                              https://www.muni.org/covid-19/documents/eo-20%20attachment%20d%20-%20organized%20sports%-
                                                             2041221%20230pm.pdf (last visited April 22, 2021).

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                                                                       30.     Anchorage Muni. Code § 3.80, et. seq. addresses Civil Emergency.

                                                                       31.     On March 12, 2020, the Anchorage Assembly extended the Declaration of Civil

                                                             Emergency (COVID-19) directing the Mayor to implement any orders necessary to prevent the

                                                             transmission of infectious disease and to ensure causes of contagious disease are subject to

                                                             proper control and treatment. 7 Since the initial resolution, the Assembly has extended the

                                                             Declaration of Emergency eight times, most recently on April 13, 2021. 8

                                                                       32.     On March 16, 2020, Mayor Berkowitz issued Emergency Order EO-01

                                                             proclaiming that all establishments serving food and beverages be closed for dine-in service,

                                                             all entertainment facilities be closed to the public, and banning all events over fifty people. 9

                                                                       33.     Subsequent to Emergency Order EO-01, Mayor Berkowitz followed by Acting

                                                             Mayor Quinn-Davidson issued multiple emergency orders restricting Anchorage citizens’ free
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                                                             exercise of their fundamental rights and freedoms.
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                                                                       34.     On March 24, 2020, CDC and National Vital Statistics System issued “COVID-
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                                                             19 Alert No. 2.” This alert released a “newly-introduced ICD code” (U07.1) to “accurately

                                                             capture mortality data for Coronavirus Disease 2019 (COVID-19) on death certificates.” The

                                                             rule established a unique system for collecting and reporting “cause of death” information on

                                                             individuals who die while purportedly infected with COVID-19. Collecting and reporting




                                                             7
                                                              Assembly resolutions related to the Anchorage Coronavirus response can be found here https://covid-response-
                                                             moa-muniorg.hub.arcgis.com/pages/updates (last visited April 22, 2021).
                                                             8
                                                              https://meetings.muni.org/AgendaOnline/Documents/ViewDocument/AR%202021-
                                                             110_1__EIGHTH_EXTENSION_EMERGENCY_DECLARATION_4821-
                                                             REV.DOCX.pdf?meetingId=4096&documentType=Agenda&itemId=23557&publishId=14260&isSection=false
                                                             (last visited April 22, 2021.
                                                             9
                                                               All emergency orders can be found on the Municipality of Anchorage Coronavirus Response website
                                                             https://covid-response-moa-muniorg.hub.arcgis.com/pages/emergency-orders (last visited April 22, 2021).




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                                                             “cause of death” information on individuals who die with any other infectious disease continues

                                                             to be handled under the old rules. The Alert states “COVID-19 should be reported on the death

                                                             certificate for all decedents where the disease caused or is assumed to have caused or

                                                             contributed to death” (emphasis added). 10

                                                                      35.    On December 11, 2020, The U.S. Food and Drug Administration (“FDA”)

                                                             issued the first Emergency Use Authorization (“EUA”) for the Pfizer-BioNTech COVID19

                                                             Vaccine, allowing its distribution and use in the United States. 11

                                                                      36.    On December 18, 2020, the FDA issued its second EUA for the Moderna

                                                             COVID-19 Vaccine, allowing its distribution and use in the United States. 12

                                                                      37.    On February 14, 2021, Governor Dunleavy declined to further extend the

                                                             Declaration of Public Health Disaster Emergency, and the same expired. 13
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                                                                      38.    On February 27, 2021, the FDA issued its third EUA for the Janssen COVID-
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                                                             19 Vaccine, allowing its distribution and use in the United States. 14
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                                                                      39.    On April 12, 2021, Acting Mayor Quinn-Davidson issued EO-20 which went

                                                             into effect on April 16, 2021.          In establishing the same, the defendant arbitrarily and

                                                             capriciously indicated that she had set a target vaccination rate, and that once 70 percent of the




                                                             10
                                                                https://www.cdc.gov/nchs/data/nvss/coronavirus/Alert-2-New-ICD-code-introduced-for-COVID-19-deaths.pdf
                                                             (last visited April 22, 2021).
                                                             11
                                                               https://www.fda.gov/emergency-preparedness-and-response/coronavirus-disease-2019-covid-19/pfizer-
                                                             biontech-covid-19-vaccine (last visited April 22, 2021).
                                                             12
                                                              https://www.fda.gov/emergency-preparedness-and-response/coronavirus-disease-2019-covid-19/moderna-
                                                             covid-19-vaccine (last visited April 22, 2021).
                                                             13
                                                               http://dhss.alaska.gov/News/Pages/2021/20210218-
                                                             DDAlert.aspx#:~:text=As%20of%20February%2014%2C%202021,to%20COVID%2D19%2C%20expired (last
                                                             visited April 26, 2021).
                                                             14
                                                              https://www.fda.gov/emergency-preparedness-and-response/coronavirus-disease-2019-covid-19/janssen-covid-
                                                             19-vaccine (last visited April 22, 2021).

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                                                             eligible population of Anchorage was fully vaccinated, the order would convert from mandatory

                                                             to advisory.

                                                                         40.      On April 13, 2021, the Anchorage Assembly documented that the vaccine is

                                                             widely available in Anchorage.

                                                                         41.      The trajectory of governmental response to COVID-19 was tragically influenced

                                                             by an admittedly flawed model developed by Neil Ferguson of the Imperial College of London,

                                                             which predicted 2.2 million deaths from COVID-19 in the United States (there have been

                                                             566,494 15), and tens of millions of deaths worldwide (there have been 3,074,926 16). 17

                                                                         42.      There have been significant issues with epidemiological forecasting, and

                                                             COVID-19 was not unique, as many forecasting efforts essentially failed. 18 Indeed, few

                                                             hospitals were operating at or above capacity and only for a small number of weeks. In addition,
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                                                             several healthcare temporary facilities sat empty, and were never utilized.
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                                                                         43.      In March and April 2020, the Anchorage Mayor told plaintiffs they had to be
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                                                             stripped of their constitutional freedoms to “flatten the curve” of COVID-19 cases. And this

                                                             justification continued throughout 2020. 19

                                                                         44.      In late March 2020, in Anchorage, it was announced that the Alaska Airlines

                                                             Center was converted into an alternate care site, this in spite of the fact that at the time it was



                                                             15
                                                                  https://covid.cdc.gov/covid-data-tracker/#datatracker-home (last visited April 23, 2021).
                                                             16
                                                                  https://coronavirus.jhu.edu/ (last visited April 23, 2021).
                                                             17
                                                               See e.g. https://www.nytimes.com/2020/03/16/us/coronavirus-fatality-rate-white-house.html (last visited April
                                                             23, 2021).
                                                             18
                                                                  https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7447267/ (last visited April 23, 2021).
                                                             19
                                                                   https://www.alaskasnewssource.com/content/news/Anchorage-has-flattened-the-curve-once-before-we-can-
                                                             do-it-again-Mayor-Berkowitz-discusses-COVID-19-in-Alaska-571594531.html (last visited April 23, 2021).




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                                                             converted only 45 percent of inpatient beds were occupied statewide. 20 The site was never

                                                             used. 21

                                                                        45.      Alaska HSS reports that COVID-19 has killed 173 Anchorage residents,

                                                             representing 0.06% of the Municipality’s population. 22 There have been 775 hospitalizations

                                                             in Anchorage, representing 0.3% of the Municipality’s population.                           This figure alone

                                                             establishes that there is no justification for the Emergency nor the Emergency Proclamations.

                                                                        46.      While 29,289 cases have been identified to date in Anchorage, 173 individuals

                                                             in Anchorage have died. 23 Therefore, 99.4% of individuals in Anchorage who were identified

                                                             as having tested positive have survived COVID-19.

                                                                        47.      From the very beginning of awareness of COVID-19, it was clear that COVID-

                                                             19 disproportionately affects the elderly, subjecting them to the highest risks of infection if

                                                             exposed, hospitalization and death. 24 This was likewise true in Alaska, where death rates were
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                                                             highest among persons over the age of 80, followed by those over the age of 70. 25
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                                                                        48.      Based on this data, the defendant could have crafted far less burdensome

                                                             mandates designed specifically to protect the most vulnerable age demographic, rather than

                                                             infringing on the inherent rights of all Anchorage citizens. The defendant could have exercised




                                                             20
                                                                https://www.adn.com/alaska-news/anchorage/2020/04/21/alaska-airlines-center-transformed-into-an-alternate-
                                                             care-site-that-officials-hope-never-to-use/ (last visited April 23, 2021).
                                                             21
                                                               https://apnews.com/article/virus-outbreak-alaska-anchorage-airlines-84eee63f4deb7bd617d7b62af044b27f (last
                                                             visited April 23, 2021).
                                                             22
                                                              https://alaska-coronavirus-vaccine-outreach-alaska-
                                                             dhss.hub.arcgis.com/app/6a5932d709ef4ab1b868188a4c757b4f (last visited April 23, 2021).
                                                             23
                                                              https://alaska-coronavirus-vaccine-outreach-alaska-
                                                             dhss.hub.arcgis.com/app/6a5932d709ef4ab1b868188a4c757b4f (last visited April 23, 2021).
                                                             24
                                                               https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-conditions.html (last
                                                             visited April 22, 2021).
                                                             25
                                                                  http://www.epi.alaska.gov/bulletins/docs/b2021_02.pdf (last visited April 23, 2021).

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                                                             her duty to be cognizant of and protective of individual civil liberties and engage a narrowly

                                                             tailored strategy of containment for the segments of the population most at risk, without causing

                                                             profound disruptions to the entire economy and all Anchorage residents regardless of their risk

                                                             profile.

                                                                        49.   Instead of narrowly tailoring interventions, the defendant directed the local

                                                             government to deploy countermeasures applicable to the entire population, including extreme

                                                             lockdown policies, massive governmental intrusions into plaintiffs’ daily lives, and maximal

                                                             invasions of plaintiffs’ constitutional freedoms.

                                                                        50.   Alaska experienced the following non-COVID-19 deaths in the year 2017, all

                                                             without any proclamation of a civil emergency: 1) malignant neoplasms (cancer) – 908 deaths,

                                                             2) diseases of the heart – 799 deaths, and 3) unintentional injuries – 427 deaths. 26
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                                                                        51.   Anchorage experienced the following non-COVID-19 deaths in the year 2013,
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                                                             all without any proclamation of a civil emergency: 1) malignant neoplasms (cancer) – 391
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                                                             deaths and 2) diseases of the heart – 262 deaths. 27

                                                                        52.   The CDC reports that nationwide there have been 566,494 deaths, representing

                                                             0.17% of the total population.

                                                                        53.   The FDA has issued EUAs for COVID-19 vaccines produced by three different

                                                             manufactures, and two of the three are currently circulating in the population. 52.2% of

                                                             Anchorage residents have received their first dose, and of that number 44.5% are fully



                                                             26
                                                              http://dhss.alaska.gov/dph/VitalStats/Documents/PDFs/Leading%20Causes%20of%20Death%20in%20Alaska
                                                             2017.pdf (last visited April 23, 2021).
                                                             27
                                                                http://dhss.alaska.gov/dph/VitalStats/Documents/stats/death_statistics/leading_causes_census/body3.html (last
                                                             visited April 23, 2021.




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                                                             vaccinated. 28 When looking at the elderly population, those Anchorage residents over the age

                                                             of 65, 80.1% have received their first dose, and of that number 74.7% are fully vaccinated. 29

                                                                        54.      Dr. Marty Makary, a Professor from Johns Hopkins’ Bloomberg School of

                                                             Public Health, has projected that the United States is currently approaching herd immunity,

                                                             which he attributed to the “inevitable result of viral spread and vaccination.” 30 COVID-19

                                                             “cases” are down 77% over the past 6 weeks nationally, due to “natural immunity from prior

                                                             infection.” He explains: “Testing has been capturing only from 10% to 25% of infections,

                                                             depending on when during the pandemic someone got the virus. Applying a time-weighted case

                                                             capture average of 1 in 6.5 to the cumulative 28 million confirmed cases would mean about

                                                             55% of Americans have natural immunity.” Another 18% of the population has been

                                                             vaccinated. If 73% of Americans are already immune, over half of Anchorage is vaccinated,
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                                                             and even more still in the elderly population, there is no justification for a state of civil
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                                                             emergency in Anchorage.
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                                                                        55.      The designation of healthy people as a “case” which represents an “infection” is

                                                             part of the “asymptomatic spread” argument, which has been used to justify isolating everyone,

                                                             throwing them out of work, closing businesses, and destroying the learning and social lives of

                                                             children in the name of public safety is not supported with credible scientific evidence that

                                                             demonstrates that the phenomenon of “asymptomatic spread” is real. To the contrary, on June




                                                             28
                                                              https://alaska-coronavirus-vaccine-outreach-alaska-
                                                             dhss.hub.arcgis.com/app/c74be37e02b44bb8b8b40515eabbab55 (last visited April 23, 2021).
                                                             29
                                                              https://alaska-coronavirus-vaccine-outreach-alaska-
                                                             dhss.hub.arcgis.com/app/c74be37e02b44bb8b8b40515eabbab55 (last visited April 23, 2021).
                                                             30
                                                                  https://www.wsj.com/articles/well-have-herd-immunity-by-april-11613669731 (last visited April 23, 2021).




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                                                             7, 2020, Dr. Maria Von Kerkhov, head of the WHO’s Emerging Diseases and Zoonosis Unit,

                                                             told a press conference that from the known research, asymptomatic spread was “very rare.”31

                                                             “From the data we have, it still seems to be rare that an asymptomatic person actually transmits

                                                             onward to a secondary individual.” She added for emphasis: “it’s very rare.” Researchers from

                                                             Southern Medical University in Guangzhou, China, published a study in August 2020

                                                             concluding that asymptomatic transmission of COVID-19 is almost non-existent.32

                                                             “Asymptomatic cases were least likely to infect their close contacts,” the researchers found. A

                                                             more recent study involving nearly 10 million residents of Wuhan, China found that there were

                                                             no, zero, positive COVID-19 tests amongst 1,174 close contacts of asymptomatic cases,

                                                             indicating the complete absence of asymptomatic transmission.

                                                                        56.      The Emergency Mandates require all persons, even those as young as 2, and
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                                                             even those with disabilities, to wear masks in public settings. This draconian age limit
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                                                             contradicts WHO guidance that “[c]hildren 5 years and younger should not be required to wear
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                                                             masks. This is based on the safety and overall interest of the child and the capacity to

                                                             appropriately use a mask with minimal assistance. …the decision to use masks for children

                                                             aged 6-11 should be based on … [p]otential impact of wearing mask on learning and

                                                             psychosocial development, in consultation with teachers, parents/caregivers and/or medical

                                                             providers.” 33 Those with disabilities must wear masks, no exceptions. There is a medical

                                                             exemption limited to those with trouble breathing. Individuals in Anchorage who cannot wear




                                                             31
                                                               https://www.cnbc.com/2020/06/08/asymptomatic-coronavirus-patients-arent-spreading-new-infections-who-
                                                             says.html (last visited April 23, 2021).
                                                             32
                                                                  https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7403788/ (last visited April 23, 2021).
                                                             33
                                                               https://www.who.int/news-room/q-a-detail/q-a-children-and-masks-related-to-covid-19 (last visited April 23,
                                                             2021).

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                                                             a mask due to medical conditions unrelated to breathing difficulties, or due to psychological

                                                             conditions, fall outside the exemption. They are currently cut-off from essential services, such

                                                             as in-person doctor’s visits, public education and grocery shopping. This discrimination is being

                                                             encouraged by the defendant, by explicitly stating that the Municipality reserves the right to use

                                                             all available enforcement options to assure compliance.

                                                                        57.      Dr. Mike Ryan, Executive Director of Health Emergencies for WHO, is on

                                                             record as stating that there is “no specific evidence to suggest that wearing masks by the mass

                                                             population has any benefit.” 34 He went on to state, “[i]n fact there’s some evidence to suggest

                                                             the opposite, in the misuse of wearing a mask properly or fitting it properly.” This is consistent

                                                             with the position published in the New England Journal of Medicine, the premier medical

                                                             journey in the country: “We know that wearing a mask outside health care facilities offers little,

                                                             if any, protection from infection.” 35
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                                                                        58.      Epidemiologists have noted that SARS-CoV-2 “is following the predictable
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                                                             bell-shaped pattern of epidemics predicted by Farr’s law in 1840, regardless of mitigation

                                                             efforts.” 36




                                                             34
                                                                  https://www.nationthailand.com/news/30385136 (last visited April 23, 2021).
                                                             35
                                                                  https://www.nejm.org/doi/full/10.1056/nejmp2006372 (last visited April 23, 2021).
                                                             36
                                                                  https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7498003/ (last visited April 23, 2021).




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                                                                        59.       Masks have a profoundly dehumanizing effect. Over 60% of interpersonal

                                                             communication is conveyed via non-verbal behaviors. 37 The mask hides non-verbal

                                                             communication, distorts the structure of the face, and disguises identity.

                                                                        60.       In October 2020, WHO Special Envoy on COVID-19 Dr. David Nabarro stated:

                                                             “We in the World Health Organization do not advocate lockdowns as the primary means of

                                                             control of this virus. The only time we believe a lockdown is justified is to buy you time to

                                                             reorganize, regroup, rebalance your resources, protect your health workers who are exhausted,

                                                             but by and large, we’d rather not do it.” 38

                                                                        61.       In January 2021, Stanford University scientists published a peer reviewed study

                                                             in a medical journal concluding that the mandatory stay-at-home orders and business closures

                                                             imposed in eight (8) countries including the United States have “no clear significant beneficial

                                                             effect” versus less restrictive measures adopted by countries such as Sweden and South Korea. 39
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                                                                        62.       The real emergency the public confronts is one caused by the Emergency
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                                                             Mandates themselves, not by COVID-19. The public has been bombarded with doomsday

                                                             public health language and scenarios, but the data showing the economic and human costs

                                                             inflicted by Emergency Mandates has simply not been reported. There is no “unintended

                                                             consequences” dashboard. In addition to immediate harm, the Emergency Mandates will have

                                                             trailing long-term costs that cannot be quantified at this time.




                                                             37
                                                               https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2898840/#:~:text=An%20estimated%2060%20to%2065,is%2
                                                             0conveyed%20via%20nonverbal%20behaviors.&text=Many%20nonverbal%20behaviors%20are%20unconsciou
                                                             s,patient's%20attitude%20and%20emotional%20state. (last visited April 23, 2021).
                                                             38
                                                                  https://twitter.com/spectator/status/1314573157827858434?lang=en (last visited April 23, 2021).
                                                             39
                                                                  https://onlinelibrary.wiley.com/doi/full/10.1111/eci.13484 (last visited April 23, 2021).




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                                                                        63.      The Annual Unemployment Rate in Anchorage went from 4.4% in 2019 up to

                                                             7.4% in 2020. 40 The Annual Rate of Unemployment in Anchorage in 2020 was the highest rate

                                                             of unemployment in at least 20 years.

                                                                        64.      Suicide and depression rates have increased dramatically – particularly in

                                                             younger people. CDC Director Robert Redfield admitted: “But there has been another cost that

                                                             we’ve seen, particularly in high schools. We’re seeing, sadly, far greater suicides now than we

                                                             are deaths from COVID. We’re seeing far greater deaths from drug overdose that are above the

                                                             excess that we had as background than we are seeing deaths from COVID.” 41 A CDC study

                                                             reported that depression in adults is four times higher than the previous year at 24.3% of people

                                                             (compared to 6.5% in 2019), and the rate of suicidal ideation in adults has doubled compared

                                                             to the previous year. 42 Psychological damage to children includes social isolation, inability to
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                                                             participate in athletics, instilling fear of people not wearing masks, and collapse of family
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                                                             relationships when children are not allowed to be close to grandparents and other relatives.
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                                                                        65.      Economists have predicted that over the next 10 years, COVID-19 pandemic

                                                             unemployment could cause about 460,000 excess deaths, rising to 890,000 by 2035, and 1.37

                                                             million by 2040. 43




                                                             40
                                                                  http://live.laborstats.alaska.gov/labforce/labdata.cfm?s=5&a=0 (last visited April 23, 2021).
                                                             41
                                                                  https://www.buckinstitute.org/covid-webinar-series-transcript-robert-redfield-md/ (last visited April 23, 2021).
                                                             42
                                                                  https://www.cdc.gov/mmwr/volumes/69/wr/mm6932a1.htm (last visited April 23, 2021).
                                                             43
                                                              https://www.thinkadvisor.com/2021/01/12/covid-19-unemployment-could-kill-1-37m-
                                                             economists/#:~:text=The%20economists%20predict%20that%2C%20over,1.37%20million%20people%20by%2
                                                             02040. (last visited April 23, 2021).

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                                                                                 VI.      COUNT I – CESSATION OF EMERGENCY

                                                                     66.     Plaintiffs adopt all of the preceding paragraphs and incorporate them by

                                                             reference, as if fully set forth herein.

                                                                     67.     In Home Building and Loan Association v. Blaisdell, 290 U.S. 398 (1934), the

                                                             U.S. Supreme Court stated: “Whether an emergency exists upon which the continued operation

                                                             of the law depends is always open to judicial inquiry.” 290 U.S. at 442, citing Chastleton Corp.

                                                             v. Sinclair, 264 U.S. 543 (1924).

                                                                     68.     In Sinclair, the Supreme Court stated: “A law depending upon the existence of

                                                             emergency or other certain state of facts to uphold it may cease to operate if the emergency

                                                             ceases or the facts change.” 264 U.S. at 547. Both Blaisdell and Sinclair are clear authority that

                                                             an emergency and the rules promulgated thereunder must end when the facts of the situation no
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                                                             longer support the continuation of the emergency.
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                                                                     69.     They also forbid this court to merely assume the existence of a “public health
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                                                             crisis” based on the pronouncements of the defendant. They are clear authority that it is the duty

                                                             of the court of first instance to grapple with this question and conduct an inquiry. “[A] Court is

                                                             not at liberty to shut its eyes to an obvious mistake when the validity of the law depends upon

                                                             the truth of what of what is declared.” Id. The Sinclair court instructed lower courts to inquire

                                                             into the factual predicate underlying a declaration of emergency, where there appears to have

                                                             been a change of circumstances: “the facts should be gathered and weighed by the court of first

                                                             instance and the evidence preserved for consideration by this Court if necessary.” 264 U.S. at

                                                             549.

                                                                     70.     Defendant’s own data, the data produced by the federal CDC and the availability

                                                             of multiple COVID-19 vaccines demonstrate an undeniable change in circumstances, and that


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                                                             the exigencies underlying the Emergency no longer exist, if they ever did. Plaintiffs have

                                                             accumulated and will present expert medical and scientific evidence further supporting this

                                                             contention. If the exigencies no longer exist, then the Emergency and the accompanying

                                                             Emergency Mandates must end.

                                                                      71.    Plaintiffs therefore seek judgment that the exigencies underlying the Emergency

                                                             no longer exist, if they ever did; that the Emergency has ended; and that in the absence of a

                                                             public health emergency, the Defendant lacks any reason to continue to infringe on the civil

                                                             liberties of the citizens of Anchorage, thereby nullifying all Emergency Mandates, making them

                                                             directory not mandatory.

                                                               VII.     COUNT II – RIGHT TO FREE ASSEMBLY, ASSOCIATION AND EQUAL
                                                                                             PROTECTION
                                                                      72.    Plaintiffs adopt all of the preceding paragraphs and incorporate them by
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                                                             reference, as if fully set forth herein.
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                                                                      73.    The First Amendment to the U.S. Constitution states “Congress shall make no

                                                             law respecting an establishment of religion, or prohibiting the free exercise thereof; or abridging

                                                             the freedom of speech, or of the press; or the right of the people to peaceably assemble, and to

                                                             petition the government for a redress of grievances.” U.S. CONST., amend. I.

                                                                      74.    As Justice Gorsuch recently espoused in his concurring opinion in Roman

                                                             Catholic Diocese of Brooklyn v. Cuomo, 141 S. Ct. 63, 69 (2020), “Government is not free to

                                                             disregard the First Amendment in times of crisis.” However, the defendant in continuing to

                                                             order edicts has wrongly encumbered the rights of plaintiffs’ free speech, assembly, association

                                                             and equal protection.




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                                                                     75.     “The right of free and peaceable assembly for lawful purpose and in a manner

                                                             without governmental interference or hindrance is a fundamental right, of the very essence of

                                                             democracy, and is guaranteed under the First Amendment.” C.J.S., Constitutional Law § 134.

                                                                     76.     The Alaska Constitution at Art. 1, § 6 further reiterates and enforces that inherent

                                                             right, as it states “[t]he right of the people peaceably to assemble, and to petition the government

                                                             shall never be abridged.”

                                                                     77.     Defendant has set forth specific guidelines regarding the ways that people may

                                                             associate and assemble with total disregard for the U.S. and Alaska Constitutions.

                                                                     78.     Defendant has selected certain activities to place restrictions on, burdening the

                                                             right to assemble freely and imposing increased costs to assemble in the desired fashion. In

                                                             such selection, defendant is acting in a manner that treats similarly situated groups disparately
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                                                             violating the inherent protections that government offer equal protection.
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                                                                     79.     The defendant no longer, if at any point, has a substantial government interest
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                                                             by which the regulations she has set forth are narrowly tailored to serve.

                                                                     80.     Plaintiffs therefore seek judgment that the defendant has violated their

                                                             fundamental First Amendment rights, deprived them of the equal protection of the laws under

                                                             the Equal Protection Clause of the 14th Amendment of the U.S. Constitution, and has violated

                                                             the Alaska Constitution.

                                                               VIII. COUNT II – RIGHT TO LIFE, LIBERTY, THE PURSUIT OF HAPPINESS,
                                                                        AND THE ENJOYMENT OF REWARDS OF INDUSTRY
                                                                     81.     Plaintiffs adopt all of the preceding paragraphs and incorporate them by

                                                             reference, as if fully set forth herein.




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                                                                       82.     Art. I., §1 of the Alaska Constitution provides that “all persons have a natural

                                                             right to life, liberty, the pursuit of happiness, and the enjoyment of the rewards of their own

                                                             industry; that all persons are equal and entitled to equal rights, opportunities, and protection

                                                             under the law; and that all persons have corresponding obligations to the people and to the

                                                             State.”

                                                                       83.     In continuing the Emergency Proclamation, the government has impaired the

                                                             rights to liberty and enjoyment of rewards of industry in a manner that is not exacting enough

                                                             given the government interest, if any.
                                                                       84.     Plaintiffs therefore seek judgment that the Emergency Proclamation and related

                                                             mandates violate Article I of the Alaska Constitution, and are thereby unconstitutional and must

                                                             end.

                                                                                  IX.     COUNT III – SUBSTANTIVE DUE PROCESS
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                                                                       85.     Plaintiffs adopt all of the preceding paragraphs and incorporate them by
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                                                             reference, as if fully set forth herein.

                                                                       86.     The Court has held that the “core of the concept” of due process is protection

                                                             against arbitrary government action. County of Sacramento v. Lewis, 523 U.S. 833, 845 (1998).

                                                                       87.     In Planned Parenthood v. Casey, 505 U.S. 833, 857, the U.S. Supreme Court

                                                             stated:

                                                                       Roe, however, may be seen not only as an exemplar of Griswold liberty, but as
                                                                       a rule (whether or not mistaken) of personal autonomy and bodily integrity, with
                                                                       doctrinal affinity to cases recognizing limits on governmental power to mandate
                                                                       medical treatment or to bar its rejection. If so, our cases since Roe accord with
                                                                       Roe’s view that a State’s interest in the protection of life falls short of justifying
                                                                       any plenary override of individual liberty claims. Cruzan v. Director, Mo. Dept.
                                                                       of Health, 497 U.S. 261, 278, 111 L. Ed. 2d 224, 110 S. Ct. 2841 (1990); cf., e.
                                                                       g., Riggins v. Nevada, 504 U.S. 127, 135, 118 L. Ed. 2d 479, 112 S. Ct. 1810
                                                                       (1992); Washington v. Harper, 494 U.S. 210, 108 L. Ed. 2d 178, 110 S. Ct. 1028
                                                                       (1990); see also, e. g., Rochin v. California, 342 U.S. 165, 96 L. Ed. 183, 72 S.

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                                                                      Ct. 205 (1952); Jacobson v. Massachusetts, 197 U.S. 11, 24-30, 49 L. Ed. 643,
                                                                      25 S. Ct. 358 (1905).
                                                                      To reiterate: “a State’s interest in the protection of life falls short of justifying any

                                                             plenary override of individual liberty claims.”

                                                                      88.    If government’s interest in the protection of life falls so short of being able to

                                                             override individual liberty interests that it may not be used to prevent the killing of an unborn

                                                             child, then certainly it cannot impede those individual liberties in an attempt to force ineffective

                                                             and unproven methods of preventing and/or treating COVID-19 given the substantial survival

                                                             rates.

                                                             Right to Personal Autonomy and Bodily Integrity

                                                                      89.    The Supreme Court has stated that the protected liberty claims inherent in
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                                                             personal autonomy and bodily integrity include both the right to be free from unwanted medical
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                                                             intervention, and the right to obtain medical intervention:
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                                                                      As the joint opinion acknowledges, ante, 505 U.S. at 857, this Court has
                                                                      recognized the vital liberty interest of persons in refusing unwanted medical
                                                                      treatment. Cruzan v. Director, Mo. Dept. of Health, 497 U.S. 261, 111 L. Ed. 2d
                                                                      224, 110 S. Ct. 2841 (1990). Just as the Due Process Clause protects the deeply
                                                                      personal decision of the individual to refuse medical treatment, it also must
                                                                      protect the deeply personal decision to obtain medical treatment, including a
                                                                      woman’s decision to terminate a pregnancy.
                                                             Id. at 927.

                                                                      90.    The Emergency Mandates have forced all plaintiffs to wear face masks against

                                                             their will. Face masks are a medical device. The FDA states: “The FDA regulates face masks,

                                                             including cloth face coverings, and surgical masks as medical devices when they are marketed

                                                             for medical purposes. Medical purposes include uses related to COVID-19, such as face masks

                                                             to help stop the spread of disease…”


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                                                                    91.     The Emergency Mandates have blocked plaintiff DeRivera from receiving the

                                                             medical treatment that she needs. They have required her to wear face masks in spaces where

                                                             she has suffered an adverse reaction.

                                                             Right to Work

                                                                    92.     The 14th Amendment guarantees a citizen’s right to work for a living and

                                                             support herself by pursuing a chosen occupation. Board of Regents v. Roth, 408 U.S. 564, 572

                                                             (1972); Truax v. Raich, 239 U.S. 33, 41 (1915) (“It requires no argument to show that the right

                                                             to work for a living in the common occupations of the community is of the very essence of the

                                                             personal freedom and opportunity that it was the purpose of the [14th] Amendment to secure.”).

                                                                    93.     Federal district courts adjudicating challenges to State COVID-19 mandates

                                                             have acknowledged this right, and subjected mandates that implicate it to constitutional review.
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                                                             County of Butler v. Wolf, 486 F.Supp.3d. 883 (W.D. Penn. 2020). (“The nature of a state-wide
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                                                             shut down of ‘non-life-sustaining’ business is such an immediate and unprecedented disruption

                                                             to businesses and their employees as to warrant constitutional review.”).

                                                                    94.     In holding that Pennsylvania’s closure of all “non-life-sustaining” businesses

                                                             “was so arbitrary as to violate the Business Plaintiffs’ substantive due process rights guaranteed

                                                             by the Fourteenth Amendment,” the Butler court stated:

                                                                    The Court recognizes that Defendants were facing a pressing situation to
                                                                    formulate a plan to address the nascent COVID-19 pandemic when they took
                                                                    the unprecedented step of sua sponte determining which businesses were “life
                                                                    sustaining” and which were “non-life-sustaining.” But in making that choice,
                                                                    they were not merely coming up with a draft of some theoretical white paper,
                                                                    but rather, determining who could work and who could not, who would earn a
                                                                    paycheck and who would be unemployed – and for some – which businesses
                                                                    would live, and which would die. This was truly unprecedented.
                                                                    An economy is not a machine that can be shut down and restarted at will by
                                                                    government. It is an organic system made up of free people each pursuing their

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                                                                    dreams. The ability to support oneself is essential to free people in a free
                                                                    economy.
                                                             Id. at 925-926.

                                                                    95.        Without the right to work in a profession of our own choosing, rather than being

                                                             directed into a profession by the State, or directed not to work and placed on subsidies by the

                                                             State, we are slaves. The Emergency Mandates have deprived Plaintiff Imbriani of his right to

                                                             work and chosen occupation, forcibly closing and/or impeding on his independent contractor

                                                             business, and then crippling the business by making it for a time de jure and then de facto

                                                             impossible for business.

                                                             Freedom of Movement

                                                                    96.        Separate and apart from the right of travel, there is a fundamental right to move
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                                                             about freely in the public. City of Chicago v. Morales, 527 U.S. 41, 53-54 (1999) (striking down
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                                                             an anti-loitering ordinance aimed at combatting street gangs and observing that “the freedom
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                                                             to loiter for innocent purposes is part of the ‘liberty’ protected by the Due Process Clause of the

                                                             Fourteenth Amendment.”); Papachristou v. Jacksonville, 405 U.S. 156, 164-65 (1972) (citing

                                                             a Walt Whitman poem in extolling the fundamental right to loiter, wander, walk or saunter

                                                             about the community); Bykofsky v. Middletown, 429 U.S. 964 (1976) (Marshall, J., dissenting)

                                                             (“The freedom to leave one’s house and move about at will is of the very essence of a scheme

                                                             of ordered liberty, . . . and hence is protected against state intrusions by the Due Process Clause

                                                             of the Fourteenth Amendment.”) (internal citation and quotation marks omitted)); Waters v.

                                                             Barry, 711 F. Supp. 1125, 1134 (D.D.C. 1989) (referencing Papachristou and stating “[t]he

                                                             right to walk the streets, or to meet publicly with one’s friends for a noble purpose or for no




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                                                             purpose at all—and to do so whenever one pleases—is an integral component of life in a free

                                                             and ordered society.”).

                                                                     97.     When in place, the emergency “stay at home” orders require a default of

                                                             confinement at home, unless a citizen is out for a purpose approved by defendant’s orders.

                                                             Furthermore, the orders also restrict movement to a lesser degree, but still in an unconstitutional

                                                             fashion. This broad restructuring of the default concept of liberty of movement in a free society

                                                             eschews any claim to narrow tailoring.

                                                                     98.     Plaintiffs therefore seek judgment that the defendant has violated their

                                                             constitutional rights to personal autonomy and bodily integrity, work, and freedom of

                                                             movement under the Substantive Due Process Clause of the 14th Amendment of the U.S.

                                                             Constitution.
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                                                                                       X.      COUNT IV – RIGHT OF PRIVACY
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                                                                     99.     Plaintiffs adopt all of the preceding paragraphs and incorporate them by

                                                             reference, as if fully set forth herein.

                                                                     100.    Art. I, § 22 of the Alaska Constitution explicitly recognizes the right of privacy,

                                                             and provides “[t]he right of the people to privacy is recognized and shall not be infringed.”

                                                                     101.    If the government’s restrictions interfere with an individual’s right to privacy,

                                                             there must be a proper governmental interest in imposing the restrictions and the means chosen

                                                             must bear a substantial relationship to the legislative purpose. If governmental restrictions

                                                             interfere with an individual’s right to privacy, the relationship between means and ends cannot

                                                             be merely reasonable but close and substantial. Ravin v. State, 537 P.2d 494 (Alaska 1975).

                                                                     102.    In February, 2020 the Office for Civil Rights (“OCR”), U.S. Department of

                                                             Health and Human Services (HHS) released a bulletin entitled, “HIPAA Privacy and Novel


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                                                             Coronavirus” which allowed entities to disclose, without a patient’s authorization, protected

                                                             health information. 44 The OCR’s bulletin promulgated guidelines violating HIPAA and

                                                             violating Alaska citizens’ right to privacy regarding their personal health information.

                                                                      103.    Subsequently, HHS issued “Notification of Enforcement Discretion under

                                                             HIPAA to Allow Uses and Disclosures of Protected Health Information by Business Associates

                                                             for Public Health and Health.” 45 This publication stated that, “ As a matter of enforcement

                                                             discretion, effective immediately, the HHS OCR will exercise its enforcement discretion and

                                                             will not impose potential penalties for violations of certain provisions of the HIPAA Privacy

                                                             Rule against covered health care providers or their business associates for uses and disclosures

                                                             of protected health information by business associates for public health and health oversight

                                                             activities during the COVID-19 nationwide public health emergency.”
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                                                                      104.    The above-referenced guidelines issued by HHS completely diluted the “The
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                                                             Privacy Rule” of HIPAA, which had mandated and unified privacy regulations for patients’
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                                                             PHI. In addition, HIPAA has been disregarded through the provision of the United States Code

                                                             released on March 27, 2020 42 U.S.C.§ 1320b-5 entitled, “Authority to Waive Requirements

                                                             During National Emergencies,” which stated “[T]he patient’s right to request privacy

                                                             restrictions;   and     the   patients’     right   to   confidential      communications,’        has    been

                                                             waived.” (emphasis added).




                                                             44
                                                               U.S. Dept. of Health and Human Services, Office for Civil Rights, BULLETIN: HIPAA Privacy and Novel
                                                             Coronavirus (Feb. 2020) https://www.hhs.gov/sites/default/files/february-2020-hipaa-and-novel-coronavirus.pdf.
                                                             45
                                                               U.S. Dept. of Health and Human Services, Notification of Enforcement Discretion under HIPAA to Allow Uses
                                                             and Disclosures of Protected Health Information by Business Associates for Public Health and Health Oversight
                                                             Activities in Response to COVID-19, https://www.hhs.gov/sites/default/files/notification-enforcement-discretion-
                                                             hipaa.pdf.




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                                                                     105.     On April 15, 2021 Alaska’s Governor Dunleavy announced that he ordered the

                                                             Alaska Department of Law to investigate a potential violation of law after the Alaska

                                                             Department of Health and Social Services shared names and contact information of individuals

                                                             receiving COVID-19 vaccines with the Municipality of Anchorage 46 and thereby violated

                                                             Alaska’s constitutionally protected right to privacy and the HIPAA Privacy Rule.

                                                                     106.     Plaintiffs therefore seek judgment that the defendant in putting forth the

                                                             government mandates and obtaining private health information has violated the guaranteed

                                                             right of privacy.

                                                                     XI.      COUNT V – FAILURE TO PROTECT INDIVDIUAL LIBERTIES

                                                                     107.     Plaintiffs adopt all of the preceding paragraphs and incorporate them by

                                                             reference, as if fully set forth herein.
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                                                                     108.     Anchorage Muni. Code § 3.80.030 defines public health emergency as an
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                                                             occurrence or imminent threat of an illness or health condition that:

                                                                     1. Has been identified by the U.S. Centers for Disease Control and Prevention,
                                                                     State of Alaska Department of Health and Social Services or Anchorage Health
                                                                     Department to be caused by any of the following:
                                                                              a. The appearance of a novel or previously controlled or eradicated
                                                                              infectious agent or biological toxin; or
                                                                              b. Bioterrorism, defined as the intentional release of viruses, bacteria, or
                                                                              other germs that can sicken or kill people, livestock, or crops; and
                                                                     2. Poses a high probability of any of the following harms, provided that one or
                                                                     more persons located within the municipality are among the affected population:
                                                                              a. A large number of deaths in the affected population;




                                                             46
                                                                https://gov.alaska.gov/newsroom/2021/04/15/governor-dunleavy-orders-investigation-into-unauthorized-
                                                             sharing-of-dhss-information/.

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                                                                            b. A large number of serious or long-term disabilities in the affected
                                                                            population; or
                                                                            c. Widespread exposure to an infectious or toxic agent that poses a
                                                                            significant risk of substantial future harm to a large number of people in
                                                                            the affected population.
                                                                     109.   Anchorage Muni. Code § 3.80.065 indicates that during a public health

                                                             emergency, the “Mayor shall be cognizant of and protective of individual civil liberties.”

                                                                     110.   As a direct and proximate result of the Mayor’s own action, she has failed to be

                                                             cognizant of and protective of individual liberties, and plaintiffs have been burdened in the

                                                             exercise of their constitutional rights as more fully set forth above.

                                                                     111.   Plaintiffs therefore seek a Declaratory Judgment that the defendant has violated

                                                             local law thereby burdening and depriving the plaintiffs of their fundamental rights.

                                                                                                 PRAYER FOR RELIEF
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                                                                     WHERFORE, and for the foregoing reasons, plaintiffs request that this Court:
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                                                                     A.     Declare that the exigencies underlying Acting Mayor Austin Quinn-Davidson’s
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                                                             initial Emergency Proclamation no longer exist, if they ever did; and in the absence of a public

                                                             health emergency, the government lacks any reason to continue to infringe on the rights of the

                                                             citizens of Anchorage, thereby nullifying the Emergency and the Emergency Mandates and

                                                             making the same directory not mandatory;

                                                                     B.     Declare that the Emergency Mandates violate the constitutional right of

                                                             plaintiffs to peaceably assemble and associate, and their right to the equal protection of the

                                                             laws;

                                                                     C.     Declare that the Emergency Mandates violate the right of plaintiffs to liberty and

                                                             enjoyment of rewards of industry;




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                                                                    D.      Declare that the Emergency Mandates violate the constitutional right of all

                                                             plaintiffs to personal autonomy and bodily integrity, lawful occupation, and freedom of

                                                             movement;

                                                                    E.      Declare that the Emergency Mandates and actions stemming therefrom violate

                                                             the guaranteed right to privacy;

                                                                    F.      Declare that the defendant has failed to protect individual liberties in violation

                                                             of law; and

                                                                    G.      Such other relief as may be just and necessary under the circumstances.

                                                                            DATED this 30th day of April, 2021, at Anchorage, Alaska.

                                                                                                                HOLMES WEDDLE & BARCOTT, P.C.
                                                                                                                Attorneys for Plaintiffs

                                                                                                                By: s/ Stacey C. Stone
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